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                                 Exhibit


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     REQUESTED BY:             MANZANARES, ROBERTO
                                      O F F I C I A L                   U S E         O N L Y

            DEPARTMENT OF HOMELAND SECURITY                                           TECS ACCESS CODE 3
                           ICE
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  R E P O R T            OF      I N V E S T I G A T                I O N
                                                                                      CASE NUMBER MI02PR07MI0 018

    T I T L E : TEODORO NGUEMA OBIANG, ET. AL OFFICIALS EQUATORIAL GUINEA

    CASE STATUS:                INTERIM RPT

    REPORT -DATE                     DATE ASSIGNED.                      PROGRAM CODE                        REPORT NO.
      081712                             111506                              YAI                                083

      RELATED CASE NUMBERS:

      COLLATERAL REQ:

      TYPE OF REPORT:
    I N I T I A L SOURCE DOCUMENT/               INVESTIGATIVE            FINDINGS


TOPIC: INTERVIEW OF CHRISTOPHER KERNAN

       SYNOPSIS:'
On N o v e m b e r 1 3 , .2006, A g e n t s a s s i g n e d t o t h e H o m e l a n d S e c u r i t y I n v e s t i g a t i o n
 (HSI) F o r e i g n C o r r u p t i o n I n v e s t i g a t i o n s Group i n i t i a t e d a c r i m i n a l i n q u i r y
i n t o t h e f i n a n c i a l a c t i v i t i e s o f M i n i s t e r T e o d o r o Nguema OBIANG ( M i n i s t e r
OBIANG) . I t i s a l l e g e d t h a t M i n i s t e r OBIANG i s d i v e r t i n g f u n d s a l l o c a t e d t o
t h e g o v e r n m e n t o f E q u a t o r i a l G u i n e a (EG) f o r h i s o w n p e r s o n a l u s e . M i n i s t e r
OBIANG i s c u r r e n t l y t h e M i n i s t e r o f A g r i c u l t u r e a n d F o r e s t r y i n EG.

H S I i s i n v e s t i g a t i n g M i n i s t e r OBIANG f o r money l a u n d e r i n g s t a t u t e s . OBIANG
p u r c h a s e d a m a n s i o n v a l u e d a t $32 m i l l i o n ' d o l l a r s d e s p i t e h a v i n g a r e p o r t e d
g o v e r n m e n t s a l a r y o f $60,000 a n n u a l l y . A d d i t i o n a l l y , h e p u r c h a s e d a n a i r c r a f t
f o r $38 m i l l i o n d o l l a r s . M i n i s t e r OBIANG a s s e r t s h i s w e a l t h i s t h e r e s u l t o f
h i s p r i v a t e ' b u s i n e s s e s w h i c h a r e i n v o l v e d i n l u m b e r a n d r o a d c o n s t r u c t i o n . EG
o f f i c i a l s a r e p u r p o r t e d l y p e r m i t t e d t o engage i n / V p r l v a t e b u s i n e s s e s a n d
a u t h o r i z e d t o h a v e g o v e r n m e n t c o n t r a c t s a s l p n g ae the] o f f i c i a l i s n ' t
i n v o l v e d i n t h e " d a y t o d a y " o p e r a t i o n s o r tip.nagfmen,t| |of t h e b u s i n e s s

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             C O N T I N U A T I O N                          REPORT NUMBER: 083


 CASE PROGRAM CODES:

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                C O N T I N U A T I O N                                                  REPORT NUMBER: 083



DETAILS OF INVESTIGATION:

On November 13, 2 0 0 6 , A g e n t s a s s i g n e d t o t h e H o m e l a n d S e c u r i t y I n v e s t i g a t i o n s
 ( H S I ) F o r e i g n C o r r u p t i o n I n v e s t i g a t i o n s Group i n i t i a t e d a c r i m i n a l i n q u i r y
r e g a r d i n g t h e f i n a n c i a l a c t i v i t i e s o f M i n i s t e r T e o d o r o Nguema OBIANG
 ( M i n i s t e r OBIANG).           I t i s a l l e g e d t h a t M i n i s t e r OBIANG i s d i v e r t i n g f u n d s
a l l o c a t e d t o t h e g o v e r n m e n t o f E q u a t o r i a l G u i n e a (EG) f o r h i s own p e r s o n a l
use.           M i n i s t e r OBIANG i s c u r r e n t l y 'the M i n i s t e r o f A g r i c u l t u r e and F o r e s t r y
i n EG a n d i s t h e s o n o f t h e               President.

On S e p t e m b e r 20, 2 0 1 1 , . C h r i s t o p h e r KERNAN, C o n s e r v a t i o n I n t e r n a t i o n a l was
i n t e r v i e w e d t e l e p h o n i c a l l y b y U.S. D e p a r t m e n t o f J u s t i c e , C r i m i n a l D i v i s i o n
A s s e t F o r f e i t u r e & Money L a u n d e r i n g (AFMLS) a t t o r n e y , Woo Lee a n d                  E d w a r d E.
B i s h o p , J r . , S e n i o r C o n t r a c t I n v e s t i g a t o r , AFMLS, DOJ- C r i m i n a l D i v i s i o n .

KERNAN was a s k e d a b o u t h i s k n o w l e d g e o f t h e G o v e r n m e n t o f E q u a t o r i a l G u i n e a
 ("Government") i n c o n d u c t i n g i t s a f f a i r s a n d a l l e g a t i o n s o f c o r r u p t i o n . Lee
a d v i s e d K e r n a n o f o u r i d e n t i t i e s a n d r o l e s as members o f t h e DOJ K l e p t o c r a c y
Initiative.             KERNAN a g r e e d t o s p e a k t o u s a n d p r o v i d e d t h e f o l l o w i n g
information:                                                                                                             — -

1 . He was e m p l o y e d b y C o n s e r v a t i o n a l I n t e r n a t i o n a l ( " C I " ) .
2 . He was t h e C o u n t r y P r o g r a m D i r e c t o r f o r C I c o v e r i n g E q u a t o r i a l G u i n e a
 ("EG") a n d Gabon f o r f i v e y e a r s f r o m 2004 t h r o u g h 2 0 0 9 .                     From 2006 t h r o u g h
2009 h e r e s i d e d i n a n d was b a s e d i n B a t a .
3 . C I i s a worldwide o r g a n i z a t i o n t h a t a s s i s t s c o u n t r i e s i n g l o b a l hot spots
of d i v e r s i f i e d issues.         C I was a c o n t r a c t o r t o USAID u n d e r CAPRE i t s p r o j e c t
focused on:
a. Management o f n a t u r a l r e s o u r c e s ,
b. Endangered s p e c i e s o f r a r e p r i m a t e s on t h e B i o k a I s l a n d ,
c. E n d a n g e r e d s p e c i e s i m p a c t e d b y t h e . f o r e s t r y d e f o r e s t a t i o n o n t h e m a i n l a n d ,
d. T e c h n i c a l s u p p o r t t o t h e EG g o v e r n m e n t ,
e. P r e p a r a t i o n o f a r e p o r t o n a s t u d y o f a E u r o p e a n U n i o n ("EU") f u n d e d
p r o j e c t i n v o l v i n g t h e i m p l e m e n t a t i o n o f a f o r e s t r e s e r v e i n EG.
4. T h e s t u d y o f t h e EU p r o j e c t r e v e a l e d a g o o d p l a n • o n p a p e r ; h o w e v e r ,
f u n c t i o n a l l y t h e p l a n was n o t r u n w e l l a t a l l .          Under t h e p l a n a n a t i o n a l
f o r e s t r e s e r v e was n e g o t i a t e d a n d c r e a t e d , a l l o w i n g c o n t r o l l e d t i m b e r
concessions.              The p l a n was t o b e a d m i n i s t e r e d b y t h e g o v e r n m e n t i n
c o o r d i n a t i o n w i t h the Department o f Environmental S t u d i e s o f the u n i v e r s i t y
i n EG, a n d i t a d d r e s s e d f o r e s t r y a n d e n v i r o n m e n t a l c o n c e r n s .       The p l a n r e a l l y
n e v e r was i m p l e m e n t e d d u e t o i s s u e s o f who h a d a u t h o r i t y u n d e r t h e p l a n , was
i m p r o p e r l y f u n d e d , a n d was u n d e r s t a f f e d .
5. T h e d e f o r e s t a t i o n i s s u e s i n EG became so much o f a c o n c e r n t h a t t h e

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                C O N T I N U A T I O N                                                   REPORT NUMBER: 083

g o v e r n m e n t i s s u e d a b a n o n t h e e x p o r t o f t i m b e r i n l o g f o r m i n 2008.                   Kernan
o b s e r v e d huge s t a c k s o f l o g s o n t h e dock o f t h e p o r t o f Bata p r i o r t o t h e b a n
b e i n g i s s u e d , a n d h e saw l i t t l e t o n o t h i n g o f l o g s o n t h e d o c k a f t e r t h e b a n
was i s s u e d .
6. K e r n a n v i s i t e d t h e f o r e s t s i n t h e r u r a l a r e a o f EG a n d saw f e w m i n i s t r y -
s t a f f i n t h e f i e l d , m e a n i n g h e saw f e w g o v e r n m e n t o f f i c i a l s i n t h e f o r e s t
e n f o r c i n g t h e laws.             T h i s was due t o a l a c k o f t r a n s p o r t a t i o n a n d r e s o u r c e s
f o r these o f f i c i a l s .             W h i l e i n t h e f o r e s t s , Kernan o b s e r v e d a tremendous
amount o f w a s t e a n d abuse b y l o g g e r s .
7. K e r n a n a n d J o h n P a l m e r , r e t i r e d U. S'. F o r e s t r y S e r v i c e , m e t w i t h
i n d i v i d u a l s who o w n e d p r i v a t e l a n d s i n EG and" who. h a d b e e n l o g g i n g t h e i r l a n d
f o r approximately twenty years.                             One i n d i v i d u a l t o l d t h e m he "owned" h i s
l a n d , a n d t h e y c o u l d l o o k a t t h e l a n d r e c o r d s t o i d e n t i f y h i s name.
8. K e r n a n l o o k e d a t a number o f t i m b e r c o n c e s s i o n s a n d saw no i n d i c a t i o n s o f
m i n i s t r y - o v e r s i g h t and governance.
9. T h e r e w e r e a s many l o g g i n g r o a d s a s t h e l o g g i n g c o m p a n i e s w a n t e d t o b u i l d
a n d u s e , a n d t h e r e was n o c o n s i d e r a t i o n f o r t h e i m p a c t o n d e f o r e s t a t i o n , t h e
e n v i r o n m e n t , a n d t h e p e o p l e o f EG. F o r e s s t r y l a w was n o t f o l l o w e d o r
enforced.
 10 . K e r n a n was p r o v i d e d t h e f o l l o w i n g i n f o r m a t i o n b y t e c h n i c i a n s o f t h e
M i n i s t r y o f A g r i c u l t u r e , Forestry and Environment:
a. T h e l a n d o n w h i c h f o r e s t s g r e w i s owned b y t h e G o v e r n m e n t o f EG,
 i n d i v i d u a l s , o r communities.                 Timber r i g h t s a l l o w f o r ownership o f t h e
 timber.           C o n c e s s i o n s g r a n t e d b y T e o d o r o Nguema O b i a n g {"TNO") , t h e M i n i s t r y
 o f A g r i c u l t u r e , F o r e s t r y and Environment, p r o v i d e d t h e r i g h t o f -harvesting
 the timber i n an area covered by t h e concession.                                          B e f o r e companies r e c e i v e d a
 c o n c e s s i o n , t h e y p a i d Obiang a f e e .
 b . M o s t c o n c e s s i o n s w e r e g i v e n b y TNO when h e nee'ded c a s h , a n d t h e s e w e r e
 g i v e n e i t h e r t o S h i m m e r I n t e r n a t i o n a l ("Shimmer") o r t o l o c a l l o g g i n g
 c o m p a n i e s a s c o n t r a c t o r s f o r Shimmer.                Shimmer w o r k e d t h r o u g h c o n t r a c t o r s a n d
 n e v e r u s e d t h e i r o w n e q u i p m e n t o r t h e i r own e m p l o y e e s .
 c. Many o f t h e c o m m u n i t i e s i n t h e r u r a l a r e a o f EG h a d t i m b e r r i g h t s o r
 e x t r a c t i o n r i g h t s o n community f o r e s t s .                L o g g i n g companies bought t h e t i m b e r
 r i g h t s f r o m t h e l o c a l c o u n c i l communities t h a t owned t h e l a n d .
 d. T h e r e w e r e s u p p o s e t o be l o g g i n g r e s t r i c t i o n s o n c o n c e s s i o n s u n d e r t h e
 l a w s o f E q u a t o r i a l G u i n e a ; h o w e v e r , n o one p a i d a n y a t t e n t i o n t o them.
 e. . A t a x was p l a c e d o n h a r v e s t e d wood a n d was o n l y p a i d when t h e l o g s a r r i v e d
 on t h e docks o f t h e p o r t i n Bata.                        M i n i s t r y t e c h n i c i a n s who w o r k e d i n t h e
 p o r t o f B a t a o v e r s e e i n g t h e l o g g i n g export o p e r a t i o n s t o l d Kernan t h a t
  l o g g i n g c o m p a n i e s p a i d b r i b e s t o TNO a t t h e r a t e o f 15, 000 CFAs p e r l o g i n
 o r d e r f o r t h e i r l o g s t o be e x p o r t e d .               TNO h a d t o p e r s o n a l l y s i g n e x p o r t
  licenses.
  f. Representatives                    o f l o g g i n g c o m p a n i e s became v e r y u p s e t w i t h TNO f o r t h e
  d e l a y i n l o g g i n g e x p o r t s from t h e Bata p o r t because e i t h e r :
  i . T h e y w o u l d n o t make t h e b r i b e p a y m e n t s t o TNO r e s u l t i n g i n t h e l o g s

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                                                O F F I C I A L               USE.          O N L Y

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i i . TNO n o t b e i n g a v a i l a b l e t o s i g n t h e l o g g i n g e x p o r t d o c u m e n t s .                TNO
r e q u i r e d t h a t he s i g n a l l d o c u m e n t s r e l a t i n g t o e x p o r t s .              He was u s u a l l y -
u n a v a i l a b l e a n d o u t o f t h e c o u n t r y i n P a r i s , C a l i f o r n i a , o r e l s e w h e r e . He
was o n l y a v a i l a b l e f o r a m o n t h o r t w o a t a t i m e .                   Kernan observed stacks o f
l o g s o n t h e docks o f t h e B a t a p o r t a w a i t i n g s h i p m e n t .
1 1 . The v a l u e o f each l o g depended upon t h e s p e c i e s a n d grade o f t h e t i m b e r .
P r i c i n g was s e t b y t h e M i n i s t r y o f A g r i c u l t u r e , F o r e s t r y , a n d E n v i r o n m e n t ,
a n d t h e m i n i s t r y a s s i s t e d c o m m u n i t i e s i n t h e d i r e c t s a l e s o f l o g s . • The
m i n i s t r y a l s o p r o v i d e d a p r i c e l i s t w h i c h was n o r m a l l y $.5 0 p e r l o g l o w e r
than t h e p r i c e of logs a t t h e Bata p o r t .
12 . K e r n a n a d v i s e d t h a t i t was d i f f i c u l t t o h a v e a b u s i n e s s i n EG i f a
company d i d n o t have a n Obiang f a m i l y c o n n e c t i o n .                         T h e r e f o r e , companies
r e c r u i t e d a member o f t h e f a m i l y t o b e o n t h e i r b o a r d o f d i r e c t o r s a n d
 c o m p a n i e s e n t e r e d i n t o j o i n t v e n t u r e s w i t h EG owned c o m p a n i e s .              As a n ' e x a m p l e
 o f t h i s , K e r n a n r e c a l l e d a s k i n g t h e o p e r a t o r o f a p r i m a r y p l y w o o d m i l l who
 o w n e d t h e m i l l , a n d h e was t o l d O b i a n g was t h e o w n e r .                     Kernan c o u l d n o t
 r e c a l l w h i c h Obiang t h e o p e r a t o r r e f e r r e d t o .
 13 . K e r n a n r e c a l l e d t h a t r i g h t b e f o r e t h e l o g g i n g b a n became l a w i n 2008
 t h e r e were a l o t o f l o g s from t h e m a i n l a n d s t a c k e d o n t h e docks o f t h e Bata
p o r t f o r export.              T h e s e l o g s came f r o m t h e f o r e s t a r e a j u s t o u t s i d e a n d
 s o u t h e a s t o f t h e Monte A l e n N a t i o n a l Park.
 1 4 . K e r n a n h a s n e v e r h e a r d o f c o m p a n i e s c a l l e d S o f o n a o r Socage.                    He r e c a l l e d
 s e e i n g t h e name S o m a g u i a n d w i l l l o o k i n h i s r e c o r d s t o s e e i f he has- a n y
 i n f o r m a t i o n o n t h i s company.
 15. "TNO E n t e r p r i s e s " i s o n a 14 s t o r y o f f i c e b u i l d i n g w h e r e t h e Bank o f
 E q u a t o r i a l G u i n e a i s l o c a t e d , a n d K e r n a n a d v i s e d . t h e b u i l d i n g i s owned b y
 TNO. TNO a l s o owns o t h e r b u i l d i n g s a l o n g t h e w a t e r f r o n t . TNO h a s a p e r s o n a l
 compound i n B a t a ,               K e r n a n h a s o b s e r v e d TNO d r i v i n g h i s l u x u r y v e h i c l e s i n EG.
 16. TNO f u n d s an a n n u a l m u s i c f e s t i v a l i n B a t a w h e r e A f r i c a n b a n d s p e r f o r m .
 T h e s e b a n d s a r e u s u a l l y o n e s t h a t TNO h a s s e e n i n t h e t r a v e l t h r o u g h o u t
 Africa.
 1 7 : K e r n a n h a s m e t TNO o n o c c a s i o n s .             He d e s c r i b e d TNO a s a p o o r l y e d u c a t e d -
 p e r s o n who h a s - d i f f i c u l t y e x p r e s s i n g h i m s e l f .       TNO h a s a v i o l e n t t e m p e r a n d
 has s t r u c k o t h e r m i n i s t e r s i nmeetings.                    TNO i s n o t a b u s i n e s s m a n a n d n e v e r
  showed up f o r any m e e t i n g s .                  The p r o f e s s i o n a l e m p l o y e e s , i n d i v i d u a l s who c a r e
  a b o u t t h e i r j o b a n d w o u l d l i k e t o see an improvement t o t h e i r government, do
 n o t l i k e TNO' b e c a u s e h e d o e s n o t t r e a t t h e m w e l l a n d h e makes a r b i t r a r y
  a p p o i n t m e n t s w i t h i n t h e m i n i s t r y o f h i s f r i e n d s a n d t h o s e l o y a l t o him,
  18. TNO u s e s f u n d s f r o m c o n c e s s i o n s o f EG's t i m b e r r e s o u r c e s h e a w a r d s as h i s
  p e r s o n a l money.             :
  1 9 . C o r r u p t i o n i s t h r o u g h o u t t h e EG g o v e r n m e n t . A n i n d i v i d u a l named
  " C l e i t o " , a r e p r e s e n t a t i v e o f t h e Permanent S e c r e t a r y O f f i c e i n B a t a , i s open
  about t a k i n g payoffs.                  C l e i t o was r e s p o n s i b l e f o r i s s u i n g v a r i o u s p e r m i t s ,
  i n c l u d i n g t r a v e l permits..             Travel permits are required f o r t r a v e l outside o f

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     R E P O R T   OF   I N V E S T I G A T                          I O N
                C 0 N T I N U A T I 0 N                                                 REPORT NUMBER: 0 83

B a t a i f o n e i s n o t f r o m EG. K e r n a n n e e d e d t o o b t a i n a t r a v e l p e r m i t t o v i s i t
t h e f o r e s t s , a n d went t o C l e i t o t o o b t a i n t h e p e r m i t .        C l e i t o t o l d Kernan he
was " h u n g r y a n d n e e d e d t o b e f e e d " , m e a n i n g h e w a n t e d t o b e p a i d b e f o r e h e
issued the permit.                    C l e i t o a s k e d K e r n a n f o r 10,000 (USD o r CFAs), a n d
K e r n a n t o l d h i m he. h a s USAID money a n d , "No."
2 0 . The s o c i e t y o f EG i s s t r u c t u r e d a r o u n d t r i b e s a n d c l a n s .
2 1 . W h i l e K e r n a n was l i v i n g i n EG, h e saw t h e i m p a c t o f t i m b e r r e v e n u e o n . t h e
EG economy g o f r o m f o u r p e r c e n t t o b e i n g d w a r f e d b y o i l a n d i n f r a s t r u c t u r e ' .
He saw a s i g n i f i c a n t i n c r e a s e i n t h e c o n s t r u c t i o n o f r o a d s a n d b u i l d i n g s i n
B a t a a n d M a l a b o , a n d r o a d s t h r o u g h o u t EG w e r e c o n s t r u c t e d o r n e w l y p a v e d .
When h e f i r s t a r r i v e d , a d r i v e f r o m B a t a t o t h e Gabon b o r d e r t o o k 14 h o u r s .
When h e l e f t , t h e d r i v e , t o o k f o u r t o f o u r - h a l f h o u r s .
22. C o n s t r u c t i o n companies were p r i m a r i l y Chinese, S p a n i s h ' a n d French w i t h
t h e most b e i n g Chinese.
2 3 . A r o a d c o n s t r u c t i o n company i n EG i s owned b y C o n s t a n c i a Nsue, TNO?s
mother, and Obiang.
24 . K e r n a n a d v i s e d EG h a d s i g n i f i c a n t d e f o r e s t a t i o n i s s u e s a n d o b s e r v e d t h e m
t h r o u g h h i s t r a v e l t h r o u g h o u t EG. He saw w h a t w e r e o n c e v i b r a n t c o m m u n i t i e s
a n d v i l l a g e s t h a t were b o a r d e d up a n d t h e p e o p l e were n o l o n g e r i n t h e r u r a l
area.         U r b a n i z a t i o n h a d become t h e f o c u s o f t h e g o v e r n m e n t .         Forests l a i d i n
w a s t e f r o m t h e random methods u s e d t o e x t r a c t t h e l o g s .                   Environmental and
w i l d l i f e problems existed.                   Kernan c a u t i o n e d t h a t d e f o r e s t a t i o n r e p o r t s t h a t
w e r e based o n . s a t e l l i t e i m a g i n g were u n r e l i a b l e .        To r e a l l y u n d e r s t a n d t h e
i s s u e s , o n e h a d t o go i n t o t h e f o r e s t s a n d s e e t h e m .
 2 5 . F r a n c i s c a Erne, d i r e c t o r o f t h e f o r e s t p r o t e c t i v e a g e n c y , INDEFOR, was as
 c o r r u p t as O b i a n g .       When K e r n a n ' s USAID v e h i c l e a r r i v e d a t t h e B a t a d o c k , s h e
 s t o l e i t a n d u s e d i t . K e r n a n h a d t o make o t h e r t r a v e l a r r a n g e m e n t s t o g e t
 a r o u n d EG.

Investigation            continues.




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